



















NUMBER 13-04-658-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG
_________________________________________________________

MARY SAPPINGTON, AS REPRESENTATIVE OF THE 
ESTATE OF GOLDIE MURPHY, DECEASED,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

MARINER POST-ACUTE NETWORK, INC., ET AL.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees.
_________________________________________________________

On appeal from the 24th District Court
of Calhoun County, Texas.
_________________________________________________________

MEMORANDUM OPINION

Before Justices Rodriguez, Castillo, and Garza
Memorandum Opinion Per Curiam

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, MARY SAPPINGTON, AS REPRESENTATIVE OF THE ESTATE OF
GOLDIE MURPHY, DECEASED, perfected an appeal from a judgment entered by the 
 24th District Court of Calhoun County, Texas, in cause number 2002-5-14178.  The
clerk’s record was filed on January 4, 2005.  No reporter’s record was filed. 
Appellant’s brief was due on February 3, 2005.  To date, no appellate brief has been
received.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When the appellant has failed to file a brief in the time prescribed, the Court
may dismiss the appeal for want of prosecution, unless the appellant reasonably
explains the failure and the appellee is not significantly injured by the appellant’s failure
to timely file a brief.  Tex. R. App. P. 38.8(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On April 1, 2005, notice was given to all parties that this appeal was subject
to dismissal pursuant to Tex. R. App. P. 38.8(a)(1).  Appellant was given ten days to
explain why the cause should not be dismissed for failure to file a brief.  To date, no
response has been received.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court, having examined and fully considered the documents on file,
appellant’s failure to file a proper appellate brief, this Court’s notice, and appellant’s
failure to respond, is of the opinion that the appeal should be dismissed for want of
prosecution.  The appeal is hereby DISMISSED FOR WANT OF PROSECUTION.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Memorandum Opinion delivered and filed
this the 28th day of April, 2005




